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          Exhibit 4
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Cohen, Daniel
From:                  Dianna Rosenheim [Dianna.Rosenheim@dol.lps.state.nj.us]
Sent:                  Wednesday, March 02, 2011 3:32 PM
To:                    Audette, Danielle
Cc:                    Cohen, Daniel
Subject:               Re: United States of America ex rel. Ven-A-Care of the Florida Keys, Inc., et al. v. Actavis Mid
                       Atlanti


You subpoena was unreasonable. However we have put together documents in response and the
agency will hopefully be sending them in the near future. Thanks. DR

>>> "Audette, Danielle" <daudette@ny.whitecase.com> 2/23/2011 12:53 PM >>>
Dianna,

I am writing in reference to your below e-mail in which you indicate that an
effort would be made to produce responsive documents in compliance with
Sandoz' subpoena to the state of New Jersey in connection with the
above-referenced matter within two weeks. Two weeks have now passed and
defendants have not received any documents from the state. Please advise by
close of business today whether New Jersey intends to produce documents in
compliance with the subpoena.

Regards,
Danielle Audette

-----Original Message-----
From: Dianna Rosenheim [mailto:Dianna.Rosenheim@dol.lps.state.nj.us]
Sent: Thursday, February 17, 2011 6:06 PM
To: Audette, Danielle
Subject: RE: Actavis subpoena

I got about 1/3 through preparing a response.           I will work on it again
tomorrow. DR

>>> "Audette, Danielle" <daudette@ny.whitecase.com> 2/16/2011 4:21 PM >>>
Dianna,

Do you have an update as to when we can expect to receive the documents
referenced in your below e-mail of February 1, 2011?

Many thanks,
Dani Audette

-----Original Message-----
From: Dianna Rosenheim [mailto:Dianna.Rosenheim@dol.lps.state.nj.us]
Sent: Wednesday, February 02, 2011 10:50 AM
To: Audette, Danielle
Subject: RE: Actavis subpoena

I understand.    Thanks. DR

>>> "Audette, Danielle" <daudette@ny.whitecase.com> 2/2/2011 10:43 AM >>>
Dianna,

Thank you for the update.     I will relay this information to the group.
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Please note that our fact discovery deadline is fast approaching, and if we
are unable to obtain New Jersey's production in the next couple of weeks, we
will have to consider filing a motion with the court.

Best regards,
Danielle Audette

-----Original Message-----
From: Dianna Rosenheim [mailto:Dianna.Rosenheim@dol.lps.state.nj.us]
Sent: Tuesday, February 01, 2011 6:46 PM
To: Audette, Danielle
Subject: RE: Actavis subpoena

I am sorry I did not mail out the documents yet. I was hit with two emergent
appeals last week, out sick yesterday and now have an expedited appeal this
week. I will try to get the documents to you within the next two weeks. DR

>>> "Audette, Danielle" <daudette@ny.whitecase.com> 1/24/2011 10:27 AM >>>
Dianna,

I am writing to follow up on Sandoz' letter to the State dated December 9,
2010 (attached hereto) in which we requested production in compliance with
Sandoz' subpoena issued to the State on June 14, 2010. During our last
telephone conversation, you represented that you intend to meet the January
31, 2011 production date as requested in the letter. At your earliest
convenience, will you please advise whether we should expect a production
from New Jersey next week?

Thank you,
Danielle Audette

-----Original Message-----
From: Dianna Rosenheim [mailto:Dianna.Rosenheim@dol.lps.state.nj.us]
Sent: Friday, November 19, 2010 1:23 PM
To: Audette, Danielle
Subject: Re: Actavis subpoena

I am sorry I have not gotten back to you.   I will try to get the figure to
you by next Wed. Thx. DR

>>> "Audette, Danielle" <daudette@ny.whitecase.com> 11/11/2010 2:12 PM >>>
Dianna,

I hope this e-mail finds you well. I am writing to follow up on our most
recent meet and confer of October 6, 2010. During that call, we discussed
New Jersey providing us with a detailed written summary of New Jersey's
anticipated costs of production in compliance with the Actavis defendants'
subpoena to the state. To date, we have not received this cost estimate. As
previously mentioned, we are not agreeing at this time to reimburse states
for their costs incurred in complying with the subpoena, but in order to make
the decision to do so, we need a detailed summary of your anticipated costs.
We request that you please provide this information by next Thursday,
November 18, 2010 so that we can move forward accordingly.

Please call or e-mail me with any questions or concerns.

Best regards,
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Dani Audette
Associate
Commercial Litigation Practice
White & Case LLP
1155 Avenue of the Americas
New York, NY 10036
(212) 819-8902
daudette@whitecase.com



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